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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JASMINE BUDZYN,                                      )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            )
                                                     )
KFC CORPORATION, KFC, FQSR, LLC,                     )
KBP FOODS, LLC, JAMES JOHNSON JR.                    )              Case No. 21 cv 04152
INDIVIDUALLY And as agent and/or                     )
employee of KFC CORPORATION, KFC,                    )
FQSR, LLC, and/or KBP FOODS, LLC                     )
                                                     )
                      Defendants.                    )

   PLAINTIFF’S RESPONSE TO DEFENDANTS’, KFC CORPORATION AND KFC,
                         MOTION TO DISMISS

       NOW COMES, the Plaintiff, JASMINE BUDZYN, by and through her attorneys, LEVIN,

RIBACK, & ADELMAN, PC and responds to the Defendants’, KFC and KFC Corporation

(collectively “Franchisor Defendants”), Motion to Dismiss Plaintiff’s First Amended Complaint

at Law, pursuant to Federal Rules of Civil Procedure 12(b)(6), states as follows:

                                       Statement of Facts

       On December 28, 2019, the Plaintiff, Jasmine Budzyn, born on October 11, 2001, was

raped by her manager, Co-Defendant James Johnson, Jr. (hereafter “Johnson”), while working at

a Kentucky Fried Chicken (“KFC”) restaurant in Romeoville, Illinois. See Dkt. 1, ¶27. Ms.

Budzyn’s rape was the last in a series of inappropriate and abusive acts she was forced to endure

after KFC transferred Johnson to the Romeoville location following his improper conduct at a

different KFC location in Joliet. KFC and KFC Corporation, are the corporate franchise owners of

restaurants known as Kentucky Fried Chicken. Co-Defendants, FQSR, LLC and KBP FOODS,

LLC, were the franchisee owners of two specific locations: KFC in Joliet, Illinois and KFC in

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Romeoville, Illinois. The Franchisor Defendants allowed Co-Defendants to use the KFC name and

logo on the restaurant, sell the Franchisor Defendants’ food products and merchandise, hire

employees to the benefit of the franchise, have employees greet and represent to patrons they are

at KFC, and wear uniforms bearing the Franchisor Defendants’ KFC name and logo.

         When Ms. Budzyn first applied to work at the KFC in Romeville, Illinois, she reasonably

believed she was working for the Franchisor Defendants and that she was a KFC employee. When

Ms. Budzyn was hired to work at the KFC in Romeoville, Illinois, she was only 17 years old, a

minor.    Upon hiring she was sent an email by her manager, Tiffany Ollie, regarding her

employment at KFC. (See 09/05/2019 Email, Exhibit A). That email states, “KBP Foods is pleased

to extend an offer of employment to you as a KFC Team Member…”. (Emphasis added.) Id.

When Ms. Budzyn spoke to patrons, she held out that she worked on behalf of the Franchisor

Defendants. As Ms. Budzyn worked with her fellow employees, it appeared that she was working

for the Franchisor Defendants as each employee wore uniforms bearing the KFC name and logo.

When Ms. Budzyn met Johnson, she knew his title to be manager of KFC. There was never any

indication or notification the Franchisor Defendants were not her employer. Ms. Budyzn’s work

uniforms did not have any logos from FQSR, LLC or KBP FOODS, LLC on them, they had the

Franchisor Defendant’s name and logo. Ms. Budzyn could not reasonably have known she was

not working for the Franchisor Defendants because of a complicated franchisor/franchisee legal

relationship. For all intents and purposes, in Ms. Budzyn’s mind, she was a KFC worker and was

always working on behalf and for the benefit of the Franchisor Defendants.

         When Johnson first started harassing Ms. Budzyn, she immediately reported the

harassment, and each occurrence thereafter, to her manager, Tiffany Ollie. Like all employees at

the KFC Romeoville location, Ms. Ollie held herself out as working for the Franchisor Defendants.



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Ms. Ollie sold merchandise and food products on behalf of the Franchisor Defendants. Ms. Ollie

wore a uniform bearing the Franchisor Defendants’ logo and name. Ms. Ollie had the

responsibilities and authority to interview, hire, retain, and terminate employees at KFC in order

to decide whom she thought reflected the ideals of the franchise. Ms. Ollie was the only person in

charge of scheduling employees’ shifts at the restaurant. Ms. Ollie, along with Mario Perea, was

in charge of running the entire restaurant, and was, to the naked eye, working on behalf of the

Franchisor Defendants. When Ms. Ollie was first informed by Ms. Budzyn of Johnson’s behavior

and actions, she disregarded Ms. Budzyn’s complaints and continued to schedule Ms. Budzyn with

Johnson. As the manager of KFC, Ms. Ollie was in charge of the restaurant and represented the

interests of the Franchisor Defendants. Ms. Ollie knew that allegations of sexual harassment by a

fellow employee were not to be taken lightly or ignored. Ms. Ollie was given explicit information

that Johnson made lewd comments to Ms. Budzyn, tried and succeeded in kissing Ms. Budzyn on

the mouth, attempted and successfully groped Ms. Budzyn, and stalked Ms. Budzyn by phone and

on social media. Ms. Ollie, as the Franchisor Defendants’ employee, did nothing to hold Johnson

responsible or to protect Ms. Budzyn from Johnson’s predatory behavior. Ms. Ollie continued to

schedule Johnson and Ms. Budzyn on the same shifts together despite the detailed and well

documented complaints made by Ms. Budzyn about Johnson’s harassing behavior. The Franchisor

Defendants, through Ms. Ollie, had thorough knowledge and notice about Johnson’s lewd and

harassing behavior towards Ms. Budzyn and failed to take any action.

       Moreover, complaints were made to the Franchisor Defendants’ regional supervisor, Mario

Perea, about Johnson, when Johnson was an employee at the Romeoville location. Mr. Perea

oversaw the KFC restaurants and was in charge of monitoring these KFC restaurants at the

Romeoville and Joliet locations. Mr. Perea has always held himself out as an employee for the



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Franchisor Defendants while he worked in a supervisory capacity at the Franchisor Defendants’

restaurants. Mr. Perea had prior knowledge that Johnson was harassing employees and patrons at

the KFC Joliet location. Mr. Perea, as agent of the Franchisor Defendants, had the ability to fire

managers and employees of the Franchisor Defendants. Instead of firing Johnson, Mr. Perea kept

Johnson, as an employee and manager of the KFC in Romeoville. Mr. Perea, as an agent of the

Franchisor Defendants, knowingly kept Johnson, despite his predatory behavior and even

promoted him to a position with greater responsibility and authority. Mr. Perea had knowledge

that Johnson, an alleged sexual harasser, was allowed to be transferred to the KFC Romeoville

location from the KFC Joliet location. The evidence will confirm that Mr. Perea was a decision

maker with respect to Johnson’s transfer. Despite the Franchisor Defendants previous knowledge

of Johnson, at the KFC Joliet location and the Franchisor Defendants’ knowledge of Johnson’s

conduct towards Ms. Budzyn, the Franchisor Defendants took no action to protect Ms. Budzyn by

either firing Johnson or separating Ms. Budzyn and Johnson’s work schedules. Instead, Ms.

Budzyn was scheduled by the Franchisor Defendants to work with Johnson. Ms. Budzyn was

continuously harassed and assaulted by Johnson, at the Franchisor Defendants’ restaurant, during

the Franchisor Defendants’ restaurant of operation, on a frequent basis. As a result, Ms. Budzyn

was raped by Johnson, December 28, 2019, on the Franchisor Defendants’ restaurant premises, in

the Franchisor Defendants’ restaurant bathroom, while the Franchisor Defendants’ restaurant was

still in operation, and while Johnson wore the Franchisor Defendants’ uniform which bore the

Franchisor Defendants’ name and logo. On January 16, 2020, Ms. Budzyn was constructively

discharged from her employment with the Franchisor Defendants after the sexual attack by

Johnson, as no action was taken against Johnson despite Ms. Ollie and Mr. Perea being

immediately notified of the occurrence.



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                                          Legal Standard

       A motion under Rule 12(b)(6) challenges the sufficiency of the plaintiff's

complaint. Christensen v. Cnty. of Boone, IL., 483 F.3d 454, 457 (7th Cir. 2007). Under the federal

notice pleading standards, a complaint must “state a claim of relief that is plausible on its

face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “A

claim has facial plausibility when the Plaintiff pleads factual content that allows the court to draw

the reasonable inference that the Defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). Thus, the complaint “need only provide a short and plain statement of

the claim showing that the pleader is entitled to relief, sufficient to provide the defendant with fair

notice of the claim and its basis.” Tamayo v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008); see

also Fed. R. Civ. P. 8(a)(2).

       In reviewing a motion to dismiss under Rule 12(b)(6), this court must accept as true all

well-pleaded allegations in the complaint and must draw all possible inferences in the plaintiff's

favor. See Tamayo, 526 F.3d at 1081. A federal court interpreting state law is required to

determine how the state's highest court would rule; it bases its predictions on the decisions of the

state's highest court and considers decisions of intermediate appellate courts unless there is good

reason to doubt the state's highest court would agree with them. Anicich v. Home Depot U.S.A.,

Inc., 852 F.3d 643, 648 (7th Cir. 2017). Applying Illinois law, and construing the allegations in

her favor, Ms. Budzyn’s Complaint is more than sufficient on its face and the Franchisor

Defendants’ Motion must be denied.



                                           ARGUMENT




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   I.      Ms. Budzyn Alleged Sufficient Facts to Conclude that the Franchisor Defendants
           are Her Joint Employers and are Liable for Johnson’s Conduct and the Failures
           of its Employees

        The Franchisor Defendants’ Motion must be denied because the Complaint more than

sufficiently alleged facts which, if true, would establish a joint employer relationship with the

Franchisee Defendants. “A joint employer relationship may exist for purposes of a Title VII action

when two entities exercise significant control over the same employees.” Civil Rights Act of 1964,

§ 701 et seq., 42 U.S.C.A. § 2000e et seq. “While a franchise agreement may clearly show the

intent of the parties to exclude an agency relationship and establish that the franchisee is an

independent contractor, such a declaration in and of itself does not control a court’s determination.”

Mann v. Prudential Real Estate Affiliates, Inc., 1990 WL 205286, 2 (N. Dist. 1990).

“Circumstances may negate the intent of the agreement.” Id. “Where a sufficient degree of control

is exercised by the franchisor, an agency relationship may be created notwithstanding a clear

declaration to the contrary in the franchise agreement between the parties.” Id. at 3, Citing Slates

v. International House of Pancakes, Inc., 413 N.E.2d 457 (4th Dist. 1980). “It becomes a question

of the type and amount of control as a certain amount of control by the franchisor is recognized as

acceptable to exercise control over its franchisee to protect its name, goodwill, trademarks, and

service marks.” Id. at 4. “It must be determined whether the control over the franchisee’s

operations establish a principal/agent relationship under Illinois law.” Id.

        With these principles in mind, Ms. Budzyn has sufficiently pled that the Franchisor

Defendants franchised KFC restaurants to Co-Defendants, KBP FOODS, LLC and FQSR, LLC.

She has sufficiently pled that the Franchisor Defendants allowed Co-Defendants to advertise the

KFC name and logo on the following: the restaurant, food products/merchandise, and for

employees to wear uniforms with the KFC name and logo. The Co-Defendants, FQSR and KBP



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Foods, hired employees to the benefit of the Franchisor Defendants to sell the Franchisor

Defendants’ products. 1 There is without question a connection between Ms. Budzyn and the

Franchisor Defendants. Ms. Budzyn was hired to work at the KFC in Romeoville and to sell the

Franchisor Defendants’ products and merchandise. Ms. Budzyn was instructed to inform patrons

they are at the Franchisor Defendants’ restaurant. The purpose of the Complaint is to show a

factually plausible connection between the Plaintiff and the Franchisor Defendants. The Plaintiff

has done that in her Complaint.

    II.      Defendants’ Motion Improperly Relies Upon Facts Outside the Pleadings.

          The Plaintiff pled the Franchisor Defendants were responsible for regulating managers,

specifically Johnson, at the restaurants. Those well-pleaded facts are taken as true at this stage.

All of the Franchisor Defendants’ arguments in their Motion to Dismiss are premature and without

merit. The Franchisor Defendants, without factual support, have asked this Honorable Court to

ignore these facts without providing any legitimate evidence or testimony to support their position.

This Motion, while fashioned as a 12(b)(6) is, in fact, a Motion for Summary Judgment and

premature. The Franchisor Defendants want this Court to take as fact their representations that

they are solely a franchisor and had no control over the employees at the KFC in Joliet and

Romeoville. They want this Court to disregard the well pled facts showing the relationship despite

the legal standard of a 12(b)(6) Motion. Rule 12(d) requires a court to treat a Rule 12(b)(6) motion

as one for summary judgment if “matters outside the pleadings are presented to and not excluded




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  The Franchisor Defendants advertised that these specific restaurants were their own restaurants on the KFC Website.
(See Website Advertisements, Exhibit B). Nothing on the website mentions anything about the restaurants being
operated, franchised, or maintained by Co-Defendants. No reasonable person, like Ms. Budzyn, could have believed
that the Franchisor Defendants did not own or operate the KFC Restaurants through their own advertisements. The
Franchisor Defendants’ own advertisements are sufficient proof to show they are owners of the restaurant and the
Franchisor Defendants have an interest in the restaurants and their operation.

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by the court.” Fed. R. Civ. P. 12(d). Before converting the motion, “[a]ll parties must be given a

reasonable opportunity to present all the material that is pertinent to the motion.” Id.

       In the current matter, the Plaintiff has not been given a reasonable opportunity to obtain

any evidence as discovery has been stayed. (See 02/22/22 Order, Exhibit C). Written and oral

discovery will likely show that there are employment manuals, procedures, policies, safety guides,

security manuals, and/or meeting logs that illustrate the Franchisor Defendants’ control and

operation of each restaurant. The employment manuals, procedures, policies, and/or safety guides

could have been created, implemented, and/or instructed by the Franchisor Defendants to be used

by the Co-Defendants, FQSR and KBP Foods, to use in their everyday operation of the restaurants.

Additionally, the Franchisor Defendants could have installed, instructed, implemented safety

procedures and surveillance to be used by the Co-Defendants in their everyday operation of the

restaurants.

       This very issue was decided in Decker v. Domino's Pizza, Inc., when a robbery occurred at

a Domino’s Pizza restaurant and an employee (Decker) was injured in the robbery. Decker v.

Domino's Pizza, Inc., 644 N.E.2d 515 (5th Dist. 1994). Domino’s Pizza, Inc. was the franchisor of

the restaurant and was sued for the injuries the Plaintiff sustained. Id. The Fifth District Illinois

Appellate Court upheld the jury verdict finding the Defendant, Domino’s Pizza, Inc., as franchisor,

liable for the Plaintiff’s injuries. Id. In coming to their decision, the appellate court stated there

was enough evidence to prove Domino’s Pizza, Inc. had sufficient involvement in the restaurant

as, “…the defendant voluntarily undertook to establish a security program to deter robbery and to

protect its employees from harm in the event of a robbery.” Id. at 519. Not only did the jury find

that Domino’s Pizza, as franchisor had involvement at the restaurant, but Domino’s was not

dismissed on a Motion to Dismiss, Motion for Summary Judgment, or even a Judgment



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Notwithstanding the Verdict. Clearly, Illinois law supports exploration through discovery the

potential relationship between a franchisee and franchisor.

          This case is clearly analogous to Decker. Once discovery commences, the Plaintiff has

properly pled that she anticipated there will be documentation that shows the Franchisor

Defendants had involvement with the hiring procedures, firing procedures, sexual harassment

policies, and/or the security system in place at the Romeoville restaurant. The Plaintiff has pled

extensive facts to show the Franchisor Defendants had knowledge of Johnson’s predatory

background. Any documentation of any sort showing that the Franchisor Defendants knew of

Johnson’s harassment allegations at the KFC in Joliet and the transfer of Johnson to the KFC in

Romeoville is sufficient in proving active control by the Franchisor Defendants. Lastly, the

Franchisor Defendants may have provided sexual harassment training manuals, employment

manuals and videos that discuss employees conduct at the restaurants that Co-Defendants had to

utilize as part of the franchising agreement. The Plaintiff has pleaded facts that show a factually

plausible connection between the Franchisor Defendants and the Plaintiff, and the Franchisor

Defendants’ premature Motion to Dismiss must be denied.

   III.      Ms. Budzyn’s Complaint Sufficiently Pled a Plausible Basis for Liability Against
             the Defendants KFC and KFC Corporation.

          Franchisor Defendants allege that the Plaintiff cannot show a reasonable connection to

prove any liability against them. As set forth below, their arguments are without merit because

the facts, as pled in the Complaint, plausibly establish the existence of an actionable relationship

between the parties. “Even when one has not created the risk of harm, a duty to take affirmative

action to aid another may arise where a legally recognized “special relationship” exists between

the parties.” Simpkins v. CSX Transp., Inc., 965 N.E.2d 1092, 1097 (5th Dist. App. 2010). Citing

Rhodes, 172 Ill.2d at 232, 216 Ill.Dec. 703, 665 N.E.2d 1260. “Such duties are, indeed, premised


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upon a relationship between the parties that is independent of the specific situation which gave rise

to the harm.” Id. at 98. “We (Illinois Courts) have recognized four relationships that give rise to

an affirmative duty to aid or protect another against an unreasonable risk of physical harm:

“common carrier and passenger, innkeeper and guest, custodian and ward, and possessor of land

who holds it open to the public and member of the public who enters in response to the possessor's

invitation.”” Id. Citing Marshall, 222 Ill.2d at 438, 305 Ill.Dec. 897, 856 N.E.2d 1048. “We

(Illinois Courts) have also recognized a duty to a third party to control the individual who is the

source of the harm when a defendant has a special relationship with that person, such as a parent-

child relationship (see Norskog v. Pfiel, 197 Ill.2d 60, 84, 257 Ill.Dec. 899, 755 N.E.2d 1 (2001);

Restatement (Second) of Torts § 316 (1965)) and a master-servant or employer-employee

relationship (italics and bold added for emphasis) (see Hills v. Bridgeview Little League Ass'n,

195 Ill.2d 210, 231, 253 Ill.Dec. 632, 745 N.E.2d 1166 (2000); Restatement (Second) of Torts §

317 (1965)).” Id.

       The Franchisor Defendants undoubtedly have a special relationship with Johnson as he was

an employee and manager of the Franchisor Defendants. Since Johnson was a manager of the

Franchisor Defendants, the Franchisor Defendants had an affirmative duty to act to protect Ms.

Budzyn from her harassing and abusive superior. The Franchisor Defendants had every obligation

to make sure the work environment at KFC in Romeoville was free from any threatening or

inappropriate behavior. Johnson was causing harm to Ms. Budzyn as he was making forceful and

outrageous sexual advances towards her. As the Franchisor Defendants clearly had knowledge of

Johnson’s conduct towards Ms. Budzyn, the situation called for a prompt response to protect their

employee, Ms. Budzyn. The Franchisor Defendants breached their affirmative duty to resolve the

matter, which created a work environment that promoted Johnson’s heinous and disturbing



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behavior towards Ms. Budzyn. As a result of the Franchisor Defendants’ failure to take action,

Johnson was given implicit permission to continuously harass Ms. Budzyn without consequence.

This ultimately led to Johnson sexually assaulting Ms. Budzyn, at the Franchisor Defendants’

restaurant, in the Franchisor Defendants’ bathroom, during the hours of operation. Undoubtedly,

the Plaintiff has established a legitimate connection of liability showing through the pleadings that

the Franchisor Defendants exercised some degree of control over the employees at the restaurant

and their failure to act led to this rape on their premises.

        It is well settled that employers, like the Franchisor Defendants, are responsible and liable

for the tortious conduct of their supervisory personal, including tortious acts that involve sexual

harassment and sexual assault. As the Seventh Circuit held in Anicich:

                Under Illinois law, as predicted by Seventh Circuit Court of
                Appeals, use of supervisory authority to commit a tort outside the
                scope of employment could be a basis for employer's liability for
                negligent hiring, supervision, and retention; there was no reason to
                hold an employer liable for tortious abuse of its chattels but not for
                the tortious abuse of supervisory authority.
                …
                In order to satisfy the foreseeability component of a claim for
                negligent hiring, supervision, or retention under Illinois law, it is not
                necessary that a defendant must have foreseen the precise nature of
                the harm or the exact manner of occurrence; it is sufficient if, at the
                time of the defendant's action or inaction, some harm could have
                been reasonably foreseen.
                Anicich v. Home Depot U.S.A., Inc., 852 F.3d 643, 651, 654 (7th
                Cir. 2017).

        The case at hand is very similar to Anicich v. Home Depot U.S.A., Inc. In Anicich, the

Seventh Circuit had to decide whether an employee's “‘particular unfitness...rendered the plaintiff's

injury foreseeable to a person of ordinary prudence in the employer's position.’” Anicich, 852 F.3d

at 654 (7th Cir. 2017) (quoting Van Horne v. Muller, 185 Ill. 2d 299, 313, 235 Ill.Dec. 715, 705

N.E.2d 898 (1998)). The decedent was a 22–year–old employee, who was murdered and raped by



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her supervisor. Id. at 643. Throughout her employment at Home Depot, she was consistently

sexually harassed and demeaned by her supervisor who had a history of harassing other female

employees. Id. at 646. The supervisor insisted that the decedent accompany him to a family

wedding in Wisconsin, and threatened to cut the decedent’s hours if she declined. Id. She went

with him to the wedding. Id. After the wedding, the supervisor attempted to have sexual relations

with her, but she declined. Id. Additionally, the decedent was six months pregnant at the time. Id.

After being rejected, the supervisor murdered and raped her. Id. The decedent’s estate brought suit

against Home Depot U.S.A., Inc., Grand Service LLC, and Grand Flower Growers, Inc. Id. at 648.

The trial court dismissed the Plaintiff's complaint against all the defendants, stating the defendants

owed no duty to the decedent. Id.

       The Seventh Circuit disagreed, reasoning that for purposes of the defendants’ 12(b)(6)

Motion, the defendants owed the decedent a duty of care to protect her from her supervisor, who

was known to be abusive. Id. at 650. After discussing the federal statutes that could impose liability

for failing to discipline those harassing employees, the court examined Illinois law regarding

liability for negligent hiring, supervision, or retention and held that, pursuant to the Restatement

(Second) of Torts § 317(a) (1965), it believed that the Illinois Supreme Court would find that a

tortfeasor's use of supervisory authority would provide a basis for employer liability, even though

the crime occurred off-premises. Id. at 650-651. The Anicich case illustrates a special relationship

and an employer’s duty to safeguard its employees from sexually harassing behavior and extended

that duty beyond the workplace.

       In the current case, the Franchisor Defendants hired Johnson to be manager of the KFC at

Romeoville. Before working at the Romeoville location, Johnson had been hired to work and

manage the Joliet KFC. Like the supervisor in Anicich, the Franchisor Defendants had prior



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knowledge of Johnson’s history of harassing employees at the Joliet KFC. Instead of terminating

Johnson, the Franchisor Defendants transferred Johnson to the Romeoville KFC where he began

sexually harassing and sexually assaulting Ms. Budzyn. The Franchisor Defendants were well

aware of Johnson’s inappropriate behavior to Ms. Budzyn, as Ms. Budzyn routinely reported each

incident to Ms. Ollie who took no action. The Franchisor Defendants received multiple complaints

about Johnson and did nothing, allowing Johnson to continue to harass Ms. Budzyn. Like in

Anicich, the Franchisor Defendants owed Ms. Budzyn a duty to protect her from their supervisor,

Johnson, as they possessed sufficient knowledge of Johnson’s actions. Moreover, the majority of

these horrid acts committed by Johnson, including the rape, that occurred on December 28, 2019,

took place at Franchisor Defendants’ restaurant. There was without question a duty owed by the

Franchisor Defendants to protect Ms. Budzyn, as the Seventh Circuit Appellate Court stated in

Anicich. This matter cannot be decided on a 12(b)(6) Motion to Dismiss, as the Seventh Circuit

Appellate Court stated in Anicich, when there was a clearly a duty owed by the Franchisor

Defendants. The Plaintiff has sufficiently pled facts in her Complaint to show the Franchisor

Defendants are liable, and the Franchisor Defendants’ Motion to Dismiss should be denied.

   IV.      The Worker’s Compensation Act is Not Applicable.

         Lastly, the Franchisor Defendants make a baseless accusation that they are protected from

any liability through the Worker’s Compensation Act if they are found to be an employer. The

Franchisor Defendants’ Motion must be denied because The Worker’s Compensation Act only

applies to the immediate employer. “If a parent company and its subsidiary are operated as separate

entities, only the entity that was the immediate employer of the injured worker is entitled to section

5(a) immunity.” Munoz v. Bulley & Andrews, LLC, 2022 IL 127067, ¶29. Citing Forsythe, 224 Ill.

2d at 297-98. The exclusive remedy provisions under sections 5(a) and 11 of the [Workers



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Compensation] Act do not extend to a general contractor who is not the employee’s immediate

employer. Id. at ¶2.

       The facts alleged sufficiently show the Franchisor Defendants are an employer of the

Plaintiff, but not the immediate employer of the Plaintiff. The Franchisor Defendants owed a duty

to protect Ms. Budzyn from being raped by one of their employees, Johnson. Moreover, the

Plaintiff has properly alleged that one or more of its employees could have prevented this attacked.

This situation was similarly discussed by the Illinois Supreme Court in Munoz v. Bulley &

Andrews, LLC.

       In Munoz, the Plaintiff hurt his back trying to move a covering/tarp at work. Munoz v.

Bulley & Andrews, LLC, 2022 IL 127067. The Defendant, Bulley & Andrews, hired the Bulley

Concrete to perform work at a site where the Plaintiff was injured. The Plaintiff was employed and

worked for Bulley Concrete. Id. The Defendant was the parent company of Bulley Concrete. Id.

The Defendant argued they were immune from liability under The Workers’ Compensation Act as

they paid Workers’ Compensation benefits. Id. The Illinois Supreme Court stated non-employers

cannot claim immunity under The Workers’ Compensation Act as that right exists only with the

immediate employer. Id. at ¶29. As the Illinois Supreme Court reasoned:

       Section 5(a) of the Act includes no category granting non-employers of the injured
       worker the ability to acquire immunity by either paying workers’ compensation
       insurance premiums on behalf of the injured worker’s direct employer or
       compensation benefits directly, as Bulley & Andrews did here. Nor does the Act
       make any provision for an entity that is legally distinct from the immediate
       employer to insulate itself against liability for its negligence by paying workers’
       compensation insurance premiums or benefits on behalf of the immediate employer
       of an injured worker. See Burge v. Exelon Generation Co., 2015 IL App (2d)
       141090, ¶ 14. To recognize a means by which immunity may be purchased by a
       general contractor who is not the injured worker’s immediate employer would be
       contrary to the intended purpose of the Act. Id. Moreover, while the Act bars an
       employee from bringing a civil suit directly against his or her employer, it does not
       limit the employee’s recovery from a third-party general contractor. See 820 ILCS
       305/5(a), (b) (West 2016). The “injured employee may also have a cause of action


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       against a third party to the employment relationship, such as a general contractor,
       whose negligence allegedly caused or contributed to the employee’s injuries.”
       Virginia Surety Co. v. Northern Insurance Co. of New York, 224 Ill. 2d 550, 557
       (2007).
       Id. at ¶35-¶36.

       The Franchisor Defendants had a duty to protect the Plaintiff. That is what has been pled.

There has been no workers’ compensation paid or even offered to be paid by the Franchisor

Defendants in this matter. Even if the Franchisor Defendants paid workers’ compensation or

offered to pay, the Franchisor Defendants would not be protected under the Act as stated by the

Illinois Supreme Court in Munoz. The Franchisor Defendants are not the immediate employer and

not entitled to the protection of 5(a). The immediate employers in this matter are Co-Defendants.

For the foregoing reasons, the Franchisor Defendants’ Motion to Dismiss should be denied.

                                         CONCLUSION

       The Plaintiff has pled sufficient facts leading to the plausible conclusion that the Franchisor

Defendants are her employer and are therefore liable for her injuries. Their arguments to the

contrary are either premature or devoid of merit. As such, the Franchisor Defendants’ 12(b)(6)

Motion to Dismiss must be denied.

                                                              Levin, Riback & Adelman, P.C.

                                                      By:     /s/ Richard I. Levin
                                                              Richard I. Levin, Esq.
                                                              Attorney for Plaintiff


LEVIN, RIBACK & ADELMAN, P.C.
Attorneys for Plaintiff
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Atty I.D. No. 6194494




                                                 15
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From:              Richard I. Levin
To:                Cortney Babiarz; Zachary H. Levin; Maya Kanaan; Jackson Swartout
Subject:           Budzyn, Jasmine v KFC Corporation, James Johnson Jr., et. al: Fwd: Offer Job
Date:              Thursday, March 3, 2022 4:08:02 PM




Richard Levin
Levin, Riback and Adelman
10 N. Dearborn
11th Floor
Chicago, IL 60602
RLevin@LRALEGAL.com
312-782-6717
312-782-5128 fax
Www.LRALEGAL.com
Sent from my iPhone

Begin forwarded message:


       From: Jasmine Budzyn <jasmine.budzyn@gmail.com>
       Date: March 3, 2022 at 3:32:57 PM CST
       To: "Richard I. Levin" <rlevin@lralegal.com>
       Subject: Re: Offer Job


       ﻿


       On Thu, Sep 5, 2019 at 4:59 PM <donotreply@peoplematter.com> wrote:

           Dear Jasmine,
           KBP Foods is pleased to extend an offer of employment to you as KFC Team
           Member at G135556 - ROMEOVILLE [IL]. You will be reporting to Tiffany x
           Ollie.

           This offer of employment is contingent upon presenting proof of eligibility to
           work in the United States and completion of a satisfactory reference check.

           Please bring appropriate documentation for the completion of your new hire
           forms on your first day, including proof that you are presently eligible to work
           in the United States for I-9 purposes. Failure to provide appropriate
           documentation within 3 days of hire will result in immediate termination of
           employment in accordance with the terms of the Immigration Reform and
           Control Act.

           We look forward to you becoming a member of KBP Foods and having you
           join our team. Please contact Tiffany x Ollie at or 556@kbpfoods.com should
           you have any questions.

                                                                                                  Exhibit A
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     Best Regards,

     Tiffany x Ollie
     556@kbpfoods.com
  Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 18 of 26 PageID #:407




KFC 442 N. Weber Road Online Delivery Near
                   Me
                            442 N. Weber Road
                           Romeoville, IL 60446



       CALL                        DIRECTIONS                        GET A RIDE




                               ORDER ONLINE




              WiFi                                        Delivery


                                    Closed

                               Permanently Closed




                     Delivery and Order Ahead FAQ

   Is food delivery available near me?



   Does KFC have contactless delivery?
                                                             Exhibit B
     Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 19 of 26 PageID #:408
        oes     C a e co tact ess de         e y?




      Is there a minimum amount I have to spend for food delivery?



      How much does food delivery cost?




THE COLONEL'S CLUB
Your number one comprehensive official source for all emails related
to Kentucky Fried Chicken. Join today to receive our special email
offers and deals.


                                  SIGN UP
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                     ORDER AHEAD FOR PICKUP
  Good news: we also offer in-store pick-up of your KFC favorites by ordering
                                 ahead online.


                                       ORDER PICK-UP




                               KFC 442 N. Weber Road

                        Online Delivery Near Me
                                   KFC Delivery and Order Ahead

It's easier than ever to get our world-famous chicken delivered! Simply place an order online, and
we'll deliver your Kentucky Fried favorites straight to your home. We also offer contactless
delivery. Need an excuse to get out of the house? You can order ahead online for pick-up at your
local KFC at 442 N. Weber Road.




                        Restaurants that Deliver Near Me
KFC 15663 127th Street
Closed - Opens at 10:30 AM

15663 127th Street
       Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 21 of 26 PageID #:410
Lemont, IL 60439

(630) 243-1800
VIEW PAGE




KFC 16616 W. 159th Street
Closed - Opens at 10:30 AM

16616 W. 159th Street
Lockport, IL 60441

(815) 838-9087
VIEW PAGE




KFC 3028 Reflection Drive
Closed - Opens at 10:30 AM

3028 Reflection Drive
Naperville, IL 60564

(331) 305-6826
VIEW PAGE




All Locations > IL > Romeoville > 442 N. Weber Road > Delivery
Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 22 of 26 PageID #:411




               Kentucky Fried Chicken
                          116 N Larkin Avenue
                            Joliet, IL 60435



     CALL                        DIRECTIONS                        GET A RIDE




                             ORDER ONLINE




            WiFi                                        Delivery


                        Closed - Opens at 10:30 AM
        Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 23 of 26 PageID #:412




 The Colonel's Club
 Your number one comprehensive official source for all emails related
 to Kentucky Fried Chicken. Join today to receive our special email
 offers and deals.


                                       SIGN UP




Careers at Kentucky Fried Chicken
People join our KFC family for a wide variety of reasons, but they discover so much more about
themselves through our training programs, family atmosphere and the pride they have in our
brand. We celebrate accomplishments (big and small) through recognition and push for the best in
our restaurants. Colonel Sanders had a passion for serving great fried chicken and we make the
Colonel proud every day through our service mindset and love for our brand.



2 Job Openings At 116 N Larkin Avenue:


KFC Team Member                                                                           APPLY


KFC Shift Manager                                                                         APPLY




                                       WWW.KFC.COM




                               Kentucky Fried Chicken
        Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 24 of 26 PageID #:413




                              116 N Larkin Avenue
                                    KFC Delivery and Order Ahead

Visit your local KFC at 116 N Larkin Avenue for a fresh batch of our world's best chicken. Hand
breaded and freshly prepared! Our chicken isn't made the fast way or the easy way. It's made the
hard way. Each fresh batch of the world’s best chicken starts with our cooks inspecting each
individual piece. Then, our fresh chicken is carefully rolled 7 times in our secret blend of 11 herbs
and spices before being rocked 7 times and then pressure cooked at a low temperature to
preserve all the great taste we’re known for around the world. From our Original Recipe® along to
our Extra Crispy™ chicken, home-style sides and buttermilk biscuits, we're here to meet your
chicken needs all day long. Call us at (815) 744-3499 for some freshly prepared delicious,
complete family meals at affordable prices.




                                     Nearby Locations
KFC 3340 Mall Loop Dr
Closed - Opens at 10:00 AM

3340 Mall Loop Dr
Joliet, IL 60431

(815) 577-0362
VIEW PAGE




KFC 2221 Route 59
Closed - Opens at 10:30 AM

2221 Route 59
Plainfield IL 60586
         Case: 1:21-cv-04152 Document #: 63 Filed: 03/14/22 Page 25 of 26 PageID #:414
Plainfield, IL 60586



(815)
VIEW 577-7161
      PAGE




KFC 16616 W. 159th Street
Closed - Opens at 10:30 AM

16616 W. 159th Street
Lockport, IL 60441

(815) 838-9087
VIEW PAGE




                                FIND ANOTHER LOCATION




All Locations > Illinois > Joliet > 116 N Larkin Avenue
Case:
 Case:1:21-cv-04152
       1:21-cv-04152Document
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                                     Filed:03/14/22
                                            02/22/22Page
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                                                          1 of 1
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                                                                  PageID#:370
                                                                         #:415

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Jasmine Budzyn
                          Plaintiff,
v.                                            Case No.: 1:21−cv−04152
                                              Honorable Sharon Johnson Coleman
KFC, et al.
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 22, 2022:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone motion
hearing held on 2/22/2022. Brief oral arguments held as to defendants FQSR, LLC and
KBP Foods, LLC's motion to stay discovery pending consideration of motion to compel
arbitration and dismiss plaintiff's complaint [53]. Over plaintiff's objections, the Court
grants the motion. Defendants' motion to compel arbitration [39] is fully briefed, the Court
shall take it under advisement. Mailed notice. (ym, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.




                                                                         Exhibit C
